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                                                                               tJ .S .D .C, Atlanta

                                                                               JUN 19 2009
                                                                      JR       S N . Q4, C1qrk
                IN THE UNITED STATES DIS TRI CT COURT                                          uty CJ4rh
               FOR THE NORTHERN DISTRICT O F GE ORG I
                              ATLANTA DIVISIO N
                                                                               ~CIVE'

CHONG AE HAN,

       Plaintiff,

VS.
                                                   1 0 9 - f'11- ~ {,4f
                                             CIVIL ACTION NO .
MORTGAGE LENDERS
NETWORK USA, INC. ;
GMAC MORTGAGE, LLC ;
AMERICA'S SERVICING
COMPANY ; WELLS FARGO
BANK, N .A. ; MORTGAGE
ELECTRONIC REGISTRATION
SYSTEMS, INC., and DOES 1-50,
inclusive,


          Defendant s.


                            NOTICE OF REMOVAL

       Pursuant to 28 U .S .C. §§ 1331, 1367, 1441 and 1446, Defendants GMAC

Mortgage, LLC ("GMACM") and Mortgage Electronic Registration Systems, Inc .

("MERS") (collectively "Removing Defendants") hereby remove this case from

the Superior Court of Georgia, Gwinnett County, to the United States District

Court for the Northern District of Georgia, Atlanta Division, and respectfully state

as follows:



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                           STATEMENT OF THE CASE

          1 . On May 12, 2009, an action was commenced in the Superior Court of

Georgia, Fulton County, entitled Chong Ae Han v . Mortgage Lenders Network

USA, Inc., et al, Case No . 09A-04320-10 (the "State Court Action") . True and

accurate copies of the summons and complaint in the State Court Action (the

"Complaint") are attached hereto as "Exhibit A ."

          2 . GMACM was served with a copy of the Complaint on May 27, 2009 .

MERS was served with a copy of the Complaint on May 22, 2009 . This Notice of

Removal is being filed within 30 days of receipt of the Complaint . Removal is

therefore timely in accordance with 28 U .S.C . § 1446(b) .

          3 . The Complaint purports to assert eleven causes of action, identified

and/or generally alleged as follows : (1) violation of the Georgia Uniform

Deceptive Trade Practices Act, (2) violation of the Georgia Residential Mortgage

Act, (3) breach of imputed duty per Georgia Fair Business Practices Act, (4) fraud,

(5) fraud in the inducement, (6) conversion, (7) quiet title, (8) libel, (9) civil

conspiracy, (10) violation of Georgia Racketeer Influenced and Corrupt

Organizations Act ("Georgia RICO"), and (11) petition for interlocutory injunctive

relief.




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                      FEDERAL QUES TION J URISDICTION

       4 . This Court has jurisdiction over this matter under 28 U .S .C . § 1331

because Plaintiffs claims arise under the laws of the United States . The Supreme

Court has held that "a case `arose under' federal law where the vindication of a

right under state law necessarily turned on some construction of federal law .

Franchise Tax Bd . V. Construction Laborers Vacation Trust, 436 U.S . 1, 9 (1983) .

Further, as the Eleventh Circuit has recognized, federal question jurisdiction arises

where a party has asserted an action under Georgia RICO and the underlying

violations involved federal mail fraud . Ayres v. General Motors Corp ., 234 F .3d

514, 517-18 (11th Cir . 2000) .

        5.      Here, Plaintiff has alleged federal mail fraud as part of the alleged

RICO scheme . See Exhibit A, ¶ 1 10. Accordingly the resolution of this matter

turns upon federal questions, and this Court has jurisdiction .

        6. Pursuant to 28 U .S.C . § 1367(a), this Court has supplemental

jurisdiction over the state law and common law claims asserted by Plaintiff

because those claims asserted form part of the same case or controversy .

       7 . Defendants GMACM and MERS have consented to the removal of

this action .




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      8 . Upon information and belief, no other defendants have been served in

this action , as no return of service has been filed with the Superior Court of

Georgia, Gwinnett County as of June 18, 2009, or are nominal or unknown

defendants, and therefore, additional consent to this removal is not required . See

Tri-Cities Newspapers, Inc . v. Tri-Cities P.P. & A Local 349, 427 F .2d 325, 326-27

(5th Cir . 1970); Salveson v. Western States Bankcard Ass'n., 731 F.2d 1423, 1429

(9th Cir . 1984) . Accordingly, all properly served and joined defendants, excluding

nominal, unknown and fraudulent joined parties, have consented to this Notice of

Removal .

      9 . Venue is proper in this Court pursuant to 28 U .S .C . § 1441(a) because

the United States District Court for the Northern District of Georgia, Atlanta

Division, is the federal judicial district and division embracing the Superior Court

of Georgia, Gwinnett County, where the State Court Action was originally filed .

      10. Pursuant to 28 U .S.C . § 1446(a), a true and correct copy of all the

process, pleadings, and orders on file in the State Court Action or served on the

Removing Defendants are attached collectively hereto as "Exhibit B ."

                                 CONCLUSION

      WHEREFORE, Defendants GMACM and MERS hereby remove this Action

from the Superior Court of Georgia, Gwinnett County to the United States District



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Court for the Northern District of Georgia, Atlanta Division . By this Notice of

Removal and the associated attachments, Removing Defendants do not waive any

objections they may have as to service, jurisdiction or venue, or any other defenses

or objections they may have to this action . Removing Defendants intend no

admission of fact, law or liability by this Notice, and expressly reserve all

defenses, motions and/or pleas . Removing Defendants pray that the State Court

Action be removed to this Court, that all further proceedings in the State Court

Action be stayed, and that Removing Defendants receive all additional relief to

which they are entitled .

        This the 19th day of June, 2009 .

                                     Respectfully submitted,


                                           ~l I
                                     Paul T . Kim
                                     Georgia Bar No . 418841
                                     LOCKE LORD BISSELL & LIDDELL, LLP
                                     The Proscenium, Suite 1900
                                     1170 Peachtree Street, NE
                                     Atlanta, GA 30309
                                     (404)-870-4678 - telephone
                                     (404)-872-5547 -facsimile
                                     pkim glockelord.com

                                     Attorneys for Defendants GMA C MOR TGA GE,
                                     LLC and MORTGAGE ELECTRONIC
                                     REGISTRATION SYSTEMS, INC.



NOTIC E OF REMOV A L                                                           PACE S
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                     CERTIFICATE OF COMPLIANCE

       The undersigned counsel hereby certifies that this Notice of Removal was

prepared using Time New Roman 14 point, in accordance with L, R . 5 .1(B) .




                                  Paul T . Kim
                                  Georgia Bar No . 418841
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                                  The Proscenium, Suite 1900
                                  1170 Peachtree Street, NE
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                                  pkim@lockelord .com

                                  Attorneys for Defendants GMAC MORTGAGE,
                                  LLC and MORTGAGE ELECTRONIC
                                  REGISTRATION SYSTEMS, INC .




NOTICE OF REMOVAL                                                             PAGE 6
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                          CERTIFICATE OF SERVICE

       The undersigned certifies that on June 19, 2009, a true and correct copy of

the foregoing document was served via US, certified mail, return receipt

requested, upon the attorney for Plaintiffs at the following :

Irene Kim, Esq .
Geerdes and Kim, LLC
3483 Satellite Blvd .
Duluth, Georgia 30096
(404) 257-1777
(404)-257-1050 (fax)




                                     P aul T. Kim




N OTI CE OF REMOVAL
                                                                            P AGE 7
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                      IN THE SUPERIOR COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

CHONG AE HAN

       Plaintiff,
                                                                 CIVIL ACTION
vs .
                                                                 FILE NO . 09A-4320-10

MORTGAGE LENDERS NETWORK USA,
INC . ; GMAC MORTGAGE, LLC ;
AMERICA'S SERVICING COMPANY ;
WELLS CARGO BANK, BANK, N .A . ;
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS ; and DOES 1
through 10, inclusive,

       Defendants .

                        NOTI CE OF FILING N OTICE OF REMOVAL


TO : [TOM LAWLER]
Clerk of Superior Court
Gwinnett County Justice and
Administration Center
75 Langley Drive
Lawrenceville, GA 30045

Irene Kim
GEERDES AND KIM, LLC
3483 Satellite Blvd .
Suite 221 South
Duluth, GA 30096


       Please take notice that on June 19, 2009, Defendants GMAC Mortgage, LLC and

Mortgage Electronic Registration Systems, Inc ., filed with the Office of the Clerk of the United

States District Court for the Northern District of Georgia, Atlanta, Division, a Notice of

Removal . A copy of the Notice of Removal is attached hereto as Exhibit A .

       This 19th day of June, 2009 .




                                                - I-
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                          Respectfully submitted,

                          LOCKS LORD BISSELL & LIDDELL LLP




                          BY
                               Paul T . Kim
                               Georgia Bar No . 418841
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                               The Proscenium, Suite 1900
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                               pkim@lockelord .com

                               ATTORNEYS FOR DEFENDANTS GMA C
                               MOR TGA GE, LL C and MOR TGA GE
                               ELECTRONIC RE GISTRATfONSYSTEMS,
                               INC.




                                -z-
       Case 1:09-cv-01641-ODE Document 1 Filed 06/19/09 Page 10 of 11



                                CERTIFICATE OF SERVICE

       The undersigned certifies that on June 19, 2009, a true and correct copy of the foregoing

document was served via certified mail, return receipt requested upon the following :

       Irene Kim
       GEERDES AND KIM, LLC
       3483 Satellite Blvd .
       Suite 221 South
       Duluth, GA 30096




                                                      Paul T . Kim




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